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                         GIBBS LAW GfwUP
                                            — L L P




                                       January 29, 2021


Thomson Reuters America Corporation
c/o Corporation Service Company
2710 Gateway Oaks Drive, Suite 150N
Sacramento, CA 95833

      Re:    Thomson Reuters Litigation

To the attention of Thomson Reuters America Corporation:

Please find enclosed the complaint and associated documents in Brooks v. Thomson Reuters
Corporation. We are serving the complaint on Thomson Reuters America Corporation as the
"general manager in this state" for Thomson Reuters Corporation. See Cal. Corp. Code § 2110;
Yamaha Motor Co. Ltd. v. Super. Ct., 174 Cal. App. 4th 264, 274-75 (2009).


                                              Yours truly,




                                              Jeff Kosbie




                                     www.ClassLawGroup.com
                             S05 14th Street, Suito 1110, Oakland, CA 94612
                                 T. 510 350 9700      F. 510 350 9701
                                   Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 2 of 44



                                                                                                                                                                      sum
                                                             SUMMONS                                                                                aroa caurrrusEauLY
                                                         (CITACION JUD/CIAL)                                                                 (sow PAwA esooFiA coaM

                NOTICE TO DEFENDANT:                                                                                                                         E~~ ~~z,D
                (A t/ISO AL DEMANDADO):                                                                                                       ALA
                THOMSON REUTERS CORPORATION                                                                                                                               T,1

                YOU ARE BEING SUED BY PLAINTIFF:                                                                                    ERK pp DEC 03 2020
                (LO ESTi$ DEMANDANDO EL DEMANaANTEI:,                                                                            ~''      7NC ~~1'!sl;lvk L,
                 CAT BROOKS and RASHEED SHABAZZ individually and on behalf
                 of.,all,         othera similarlv situated :.
                 rVV 1IGC! Tau    nave oeen suea. i ne wurs may aeuue against you without yaur being heard unless you respond within 30 days. Read the Informa
                 below.                                                                                                                                                  on
                    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a wrtten response at this court and have
                                                                                                                                                                 a copy
                 served on the plamtiff. A letter or phone call wip not protect you. Your written response must be in proper legal fonn if you want the court to hear your
                 case. There may be a court form that you can use for your response. You can find these court fonns and more information at the Califomia Courts
                 Online Self•Help Center (www.courlrnfo.ca.gov/seNhelp), your county law I brary, ar the courthouse nearest you. If you cannot pay the fiGng fee, ask
                                                                                                                                                                          the
                 court clerk for a fee waiver fonn. B you do not fde your response on Bme, you may lose the case by defauk, and your wages, money, and property may
                 be taken without further waming from the court.
                    There are other legal requiremen[s. You may want to call an attomey right away: If you do not know an attorney, you may want to call an attomey
                 referral ser+rice. If you cannot afford an attomey, you may be eigible for free lega[ senrices from a nonprofrt legal services program. You can locate
                these nonprofd groups at the Califomia Legal Services Web site (www.lawhefpcalifomla.org), the Carifomia Courts OnHne Self-lieip Center
    ~           (www.courllnfo.ca.gov/selNrelp),-or by contacting yout local court or county bar association. NOTE: The court has a statutory lien for waived
                                                                                                                                                                  fees and
                costs on any settlement or arbkration award of $10,000 or more In a eivil ease. The coutt's lien must be paid before the court witl dismiss the case.
    &7          /AVIS01 Lo han demandedo. Si no r•       esponde dentro de 30 dfas, la corte puede dectdlren su contra sin eseucharsu versibn. Lea /a informacl6n a
,        I      continuad6n.
• rp.               Tiene 30 DlAS DE CALENDARIO despuAs de que le entreguen esta cr7aci6n y papetes legales para presentar una n;spuesta por escrffo en esta
    ~           corte y hacer que se entregue una eopfa al demandante. Una carta o una Ilamada te/efidnlca no lo protegen. Su respuesta par escrito 8ene que estar
    ~           en fonnato legal correcto si desea que procesen su caso en la eorte. Es pos/ble que haya un fom~ulario qua usted pueda usar pare su respuesta.
    C3          Puede eneontrar estos formularios de la oorte y mds Infomnacldn en el Centro de Ayuda de las Cortes de Calitomia (www.suoorte.ca.gov), en la
                biblloteca de leyes de su condado o en la carte que /e quede mds cerca. Sl no puede pagar la cuota de pn:sentacidn, pida al seoretar/o
                                                                                                                                                            de la oorte que
                le d6 un formalado de exenclbn de pago de cualas. Si no presenta su respuesta a Bempo, puede perder el caso por incumpH'miento y la corte le podr8
               quitarsu sueldo, dinero y blenes sin mfis adirertencla.
                 Hay obos n:qulsitos legales. ES recomendab/e que Ilame a un abogado inmedlatemente. SI no oonoce a un abogado, puede Jlamara un servfclo de
               remisi6n a abogados. Si no puede pagar a un abogado, es posfble que cumpla oon tos requisrtos para obtener servldos legalas grafuitos de un
               pmgrama de serviclos legales sin fines de lucra. Puede enconbarestos grupos sin fines de lucro en el silfo web de Califomia Legal Servioes,
               (www.lewhelpcalllomia. org), en e/ Centro de Ayuda de 1as Cortes de Califomia, (www.sucorte.ca.gov) o poniAndose en contacbo eon la oorte o el
               oolagio de abo9ados loca/es. A VISO: Por ley, la corte 4ene den:cho a redamerlas euotas y los cnstos exentos por imponerun gravamen snbre
               cualquier recuperaci6n de $10, 000 6 mds de valor racibida mediante un acuenio o una wncesi6n de arbitraje en un caso de derecho clvll. Trene que
               pagarel gravamen de la cor[e antes de que la corte puede desecharel caso.
              The name and address of the court is:                                                                      CASE NUMBER: (Nurriero de! Caso):
              (El nombre y dln3cci6n de Ja corte es): Alameda County Superior Court
              1225 Fallon Street
              Oakiand, Califomia 94612
              The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attomey, is: (EI nombre, la direccidn y el n(mero
              de telcfono de/ abogado del demandante, o de( demandante que no tiene abogado, es):
              Andre M. Mura, GIBBS LAW GROUP LLP, 50514th St., Ste 1110, Oakland, CA 94612, (510) °350-9700,
                                                                                                               i ~.- ly e !•`   _-. , .. 1_e -t~'
              DATE:                                                    Chad Flllke            Clerk, by                       "     "-P~ ~> s„    , Deputy
              (Fecha)                  ~,~~ ~ ~ ~                                             (Secretario)                                        (Adjunto)
                                     w
              (i-or proof of sendce or rnlssunvrrl,ns;'us~I Proof af Serwce of Summons (fomz POS-0f0).)
              (Parra prueba de entrega de esta ztita6dn use e/ farmulado Proof of Service of Summons, (POS-010).)

               IsMJ                             NOTICE TO THE PERSON SERVED: You are served
                                                1. =       as an individual defendant.
                                                2. 0       as the person sued under the fictitious name of (speclfy):
                                                                                           Thomson Reuters America Corporation on
                                                         3. ®    onbehalfof(specify): behalf of the Thomson Reuters Corporation
                                                            under. ®     CCP 416.10 (corporation)            Q CCP 416.60 (minor)
                                                                  0      CCP 416.20 (defund corporation)     = CCP 416.70 (consenratee)
                                                                  ~] CCP 418.40 (association or partnership) = CCP 416.90 (authorized person)
                                                                  Q      other (specify):
                         . ..... ................,   .
                                                         4. 0   by -.personal delive
                                                                              . .. rY on    (date) .... .. .
                                                                                        .......... ..                      .
                                                                                                                                        _ ._. ..... .. .._           P ' 1of7
                                                                                    SUMMONS                                                    cO& orcNa Pr000d,.e g3412M, ass
             BUM-100 [Rev. Jdy 1, 2009J                                                                                                                         rw+vaowts.ca.gtw
                            Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 3 of 44
  •               •                                                          4 ~'~         ~       ~~    u    ■
         r
             ATTORNEY OR PARTY WITt10UTATT RN           (Name, State 9armmnber, and atldress):
              Andre M. Mura (SBN 29>~541~                                                                                                               FOR COURT USE oIYLY

LL            Gfbbs Law (']roup 7.I..P
>-            50514th Street, Suite 1110, Oakjand, California 94612
cn
w                     TELEPHONE NO.: ~510) 350-9700                             FAX NO.: (510) 350-9701
~_t          ATTORNEY FOR (Mame):     la~
                                              /-~, ,
                                              ~.+tit                    n- - ~      ~L
                                                             BrQOks and 1V~ileed S11Cpa2~
LL       sUPERIOR COURT OF CAUFORNIA, COUNTY OF Alameda
             STREETADDREss: 1225 Fallon Street
             MA L NG ADDRESS:
                  CITY AND ZIP CODE Oaklajj      ~~~a                 94612
                       aRANCH NAME: ReIId C.          avidson Courthouse
             CASE NAME:            ,
             Cat Brooks and Rasheed Shabazz v Thomson Reuters
                  CML CASE COVER SHEET                        Complex Case Designation
         0            Unlimited     []
                                   Limited
                      (Amount      (Amount               0      Counter        0      Joinder
                      demanded     demanded is           Filed with first appearance by defendant     .UDGE:
                      exceeds $25,000)
                                   $25,000 or iess)          (Cal. Rules of Court, rule 3.402)          DEPT:
                                      Items 1-6 below must be completed (see insbuctlons on page 2).
        1. Check one box below for the case type that best describes this case:
           Autfl Tort                                  Contract                                Provlslonally Complex Civil Lltigation
           0     AutD (22)                             0     Breach of oontracUwarranty (06) (CaI• Ruies of Court, ruies 3.400-3.403)
           EJ Uninsured motorist (46)                  0     Rule 3.740 collections (09)       0     Antitrust/Trade regulation (03)
              Other PUPD/WD (Personal InjurylProperty                                Other collections (09)                   Q      Construction defect (10)
              DamagalWrongful Death) Tort                                            Insurance coverage (18)                  El     Mass tort (40)
             ~          Asbestos (04)
                                                                          0     Other cflntract (37)                          0      Securities litlgation (28)
             ~          PrDduct liability (24)
                                                                          Real ProPe1'hf                                      =      Environmentalffoxic tort (30)
              0         Medical malpractice (45)                          Q          Eminent domain/lnverse                   Q      Insurance coverage ciaims arising from the
             E]   Other PIIPD/WD (23)                                                eondemnation (14)                              above Iisted provisionally complex aase
             Non-PI/PD/WD (Other) Tort                                               fNrongful eviction (33)                        h'p- (41)
             ©         Business tort/unfair business practice (07) 0                 Other real property (26)                Enforcement of Judgment                                         C    I
             0         Civil rights (08)                                 Unlawtul Detalner                                   0      Enforcement of judgment (20)
             0         Defamation (13)                                   0    Cammercaal (31)                                M(scellaneous Civil Complaint
             0         Fraud (16)                                                    Residential (32)                        Q      RICO (27)
             Q         Intellectual property (19)                                    Drugs (38)                              Q      Other complaint (not specifed above) (42)
             0         Professional negtigence (25)                      Judiclal Review
                                                                                                                             ryliscallaneous Civil Pefttlon
                        on-PUPD/WD tort (35)                             0           Psset forfeiture'(05)                   Q
                                                                                                                                    Partnership and corporate govemance
             E~m Y
             ~oment                                                      0           Petition re: arb'dration award (11)     =                                           (21)
                 Wrongful termination (36)                                                                                          Other petition (nof speciTed above 43
                                                                         Q           Writ of mandate (02)                                                             )( )
             =   Other employment (15)                                   n           nttior                 1-2o%
       2. This case LL.j is      I_J is not       oomplex under rule 3.400 of the Califomia Rules of Court. lf the case is complex,
          factors requiring exceptional judicial management:                                                                        mark the

             a. []        Large number of separately represented parties                          d. 0        Large number of witnesses
             b. ~ ✓       Extensive motion practice raising difficult or novel                    e. Q        Cooniination with related actions pending in one or more courts
                          issues that will be time-consuming to resolve                                       in other counfies, states, or countries, or in a federal court
             c. ©         Substantial amount of documentary evidence                              f. ©        Substantial posfjudgment judicial supervision
      3. Remedies sought (check all that apply): a.©                          monetary           b. Q        nonmonetary; declaratory or injunctive relief              c. Q      punitive
      4. Number of causes of action (specify):
      5. This case             ©       is   0       is not    a ciass action suit.
      6. If there are any known related cases, f)le and serve a notice of related case. (You may use form CM-015.)
      Date: December 3, 2020
      Andre M. Mura
                                                                                               NOTICE
                                                                                                                       A,             ~
                                                                                                                           (bItiNA I UNE OF PARTY OR AT70RNEY FOR PARTY)

         • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except
                                                                                                               small daims cases or cases filed
           under the Probate Code, Family Code, or Welfare and Institutions Code), (Cal. Rules of Court, rule
                                                                                                                     3.220.) Failure to file may result
           in sanctions.
        • File this cover sheet in addition to any Cover sheet required by local court rule.
        • If this case is complex under rute 3.400 et seq. af the Catifomia Rules of Court, you must senre a copy
                                                                                                                         of this cover sheet on all
           other parties to the action or proceeding.
        • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used
                                                                                                                   for statistical purposes anl.
      Fortn Adopted for Mandahny Use
                                                                                                                                                                                     age 1 Of 2
                                                                        CIVIL CASE COVER SHEET                                         CaL Rulea ofCourt, n1es230, 3220, 3.400-3.403, 3.74P,
        Judlclal Councr of CaII[omla
        CM-070 ){2ev. Juty 1, 2007]                                                                                                           Cal. SmrqaMe ofdudiciat Administration, std. 3.10
                                                                                                                                                                          www.courfinlo.ea.gav
                                                                                                                                                                     American LegalNek Ine.
                                                                                                                                                                     www FormswaMrow.com
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                                                                                                                                      CM-01 t)
                                  INSTRIlCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintififs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and fi1e, along with your first paper, the Civil Case Cover 5heet contained on page 1. This information will be used tc compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has mulGple causes of action, check the box that best indicates the primary cause of action.
To assist you in complefing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed oniy with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sancfions under rules 2.30 and 3.220 of the Califomia Rules of Court.
To Parties in Rule 3.740 Collections Cases, A"collections case" under rule 3,740 is defined as an acfion for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attomey's fees, arising from a transaction in
which property, services, or money was acquired on crediL A collecfions case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The idenfification of a case as a rule 3.740 collecfions case on this form means that it wiil be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collecfions
case will be subject to the requirements for service and obtaining a judgment in rule 3.740,
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rufes of Court, this must be indicated by
comple(ing the appropriate boxes in items 1 and 2. If a plainfiff designates a case as complex, the cover sheet must be served with the
comp{aint on all patlies to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff s designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designafion that
the case is comp(ex.                                        CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provisionally Complex Civil LJtigation (Cal.
     Auto (22)-Personal InjurylProperty              Breach of ContractlWarranty (06)               Rules of Court Rules 3.480-3.443)
          Damage/Wrongful Death                           Breach of RentallLease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (ff the                            Contract (not unlawful detatner           Construction Defect (10)
           case Involves an uninsured                              or wrongfui eviction)                  Claims lnvolving Mass Tort (40)
          motorist claim subject to                       ContractJWarranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                        Plaintiff (not fraud or negltgence)        EnvironmentaUToxic Tort (30)
           fnstead of Auto)                               Negligent Breach of Contract/                   lnsurance Coverage Claims
Other PUPDlWD (Personal Injury/                                 Warranty                                      (aristng from provisionally complex
                                                           Other Breach of ContractNVarranty                   case type listed above) (41)
Property Damage/Wrongful Death)
                                                      Collections (e.g., money owed, open             Enforcement of Judgment
Tort
     Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
           Asbestos Property Damage                       Collectlon Case-Seller Plaintiff                     Abstract of Judgment (Out of
                                                           Other Promissory Note/Collections                         County)
           Asbestos Personat Injury!
                                                                Case                                           Confession of Judgment (non-
                 Wrongful Death
                                                      Insurance Coverage (not provislonally                          domestic relations)
     Product Liability (not asbestos or
                                                           complex) (18)                                       Sister State Judgment
           loxidenvironmental) (24)
     Medical Malpractice (45)                              Auto Subrogaiion                                    Administrative Agency Award
           Medical Malpractice-                            Other Coverage                                         (not unpaid taxes)
                 Physicians 8 Surgeons                Other Contract (37)                                      PetiiionlCertificafion of Entry of
                                                           Contractual Fraud                                       Judgment on Unpaid Taxes
           Other Professional Health Care
                 Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                                                                                     Case
     Other PIlPD/WD (23)                         Real Property
                                                      Eminent Domain/inverse                           Miscellaneous Civil Complaint
           Premises Liability (e.g., slip
                                                           Condemnation (14)                              RICO (27)
                 and faN)
                                                      Wrongful   Eviction  (33)                            Other Complaint (not specified
           Intentional Bodily InjurylPD/WD                                                                     above) (42)
                 (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)             Declarratory Refief Only
           IntenBonal Infliction of                        Writ of Possesslon of Real Property                 Injunctive Relief Only (non-
                 Emotional Distress                        Mortgage Foreclosure                                      harassment)
           Negligent Infliction of                         Quiet Tifle                                         Mechanics Lien
                 Emotional Distress                        Other Real Properry (not eminent
            Other PITPD/WD                                                                                     Other Commercial Complaint
                                                           domain, landlordltenant or
                                                                                                                     Case (non-tortlnon-complex)
Non-PIlPD11ND (Other) Tort                                 foreclosure)                                        Other Civil Complaint
     Business TortlUnfair Business               Unlawful Detainer                                                  (non-tort/non-complex)
          Practice (07)                                Commercial (31)                                 Miscellaneous Civil Petition
     Civil tZghts   (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
          false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Govemance (21)
           harassment) (08)                                drugs, check thfs ttem; otherwise,              Other Pe6tion (not specifred
     Defamafion (e.g., slander, fibet)                     report as Commercial or Resfdential)                above) (43)
            (13)                                 Judicial Review                                               Civil Harassment
     Fraud (16)                                        Asset Forreiture (05)                                   Workplace Uotence
     lntellectual Property (19)                       Petition Re: Arbitration Award (11)                      ElderlDependent Adult
     Professional Negligence (25)                      Writ of Mandate (02)                                          Abuse
          Legal Malpractice                                Writ-Administrafive Mandamus                        ElecGon Contest
           Other Professional Malpractice                  Wrlt-Mandamus on Limited Court                      Petition for Name Change
               (not medfcal or legal)                          Case Matter                                     Petition for Relief Fram Late
      Other Non-PUPDlWD Tort (35)                          Writ-Other Limited Court Case                             Claim
 Employment                                                    Review                                           Other Civil Petition
     Wrongful Termination (36)                         Other Judicial Revlew (39)
     Other Employment (15)                                 Review of Health Officer Order
                                                           Notice of Appeal-Lebor
                                                               Commissioner Appeals
 CM-010 tRev. Juy 5,                                                                                                                     Page 2 of 2
                       20071                          CIVIL CASE COVER SHEET
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                                                                                                                    Uni('ied Rules of the Superior Coicri of California, Coun6y of Alameda

                                                                                                                                                                          Case Number:
Brooks v. Thompson Reuters Corporation
                                                                                 CIVII. CASE CCIVER SHEET ADDENDUM
                                               TH1S FORM 18 REQUtRED IN ALL NEW UNLIMITED CIVtL CASE FILINGS IN THE
                                                       SUPERIOR Ct}URT OF CALIFORNiA, COUNTY OF ALAlItitEDA
                                                                                                                                     [ ] Hayward Hatl of Jusfice (447)
p( j Oakland, Rene C. Davidson Alameda County Courthouse (446)                                                                       []       Pleasanton, Gale-Schenone Hall of Justice (448)
                                                                                                                          .
     t • , . ....~._~___-'                                                                                                                       ' ... - ..>^...st,~.+c~' -'.a..-                ~c                      •.. ,...
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Auto Tort                         Auto tort (22)                                                          (]           34        Auto torf (G)
                                                                                                          !s this an uninsured motorlst case7                            ] yes [] no
Other Pt !PD 1                    Asbestos (04)                                                           []           75       Asbestos (D)
WD Tort                           Product liability (24)                                                   j j         89       Product liability (nSasbestos or toxic tortlenvrronmentaq (G)
                                  Medical maipractice (45)                                                []           97       Meedicai maiprac6ce (G)
                                  Other PI/PDNVD iott 23                                                               33       Other PllPD1WD tart G
Non - PI IPD 1                    Bus tort ! unfair bus. practice (07)                                    [)q          79       Bus t,ort t unfair bus. practice (G)
WD Toit                           Civil dghts (08)                                                        [ j          80       Civil rights (G)
                                  Defama6on (13)                                                          [ j          84       Defamation (G)
                                  Fraud (16)                                                              [ l          24       Fraud (G)
                                   Intellectuat property (19)                                              j j         87        Inteqedval proparty (G)
                                  Professional negiigence (25)                                            []           59       Professionai negligence - non-medicai (G)
                                   Other non-PUPDlWD tort 35                                                           03       ather non•PifPDtWD tort G
Employment                         Wrongtul temiinaiion (36)                                              [ j          38       Wrongful termirafion (G)
                                   Other empioyment (15)                                                  j)           85       Other employment (G)
                                                                                                          [ j          53       LBbor cwmm award confirmation
                                                                                                                       54       Notice of a           at - L.C.A
Contract                           Breach contract / Wmty (06)                                            [ J          04        Breach contract! Wmty (G)
                                   Coltedions (09)                                                         [ j         B1       Cofiections (G)
                                  lnsurance coverage (18)                                                  []          86       Ins. coverage - non-complex (G)
                                  Other contract 37                                                                    98       Olhar contract G
Real Property                     Eminent domain / Iriv Com (14)                                           []          18       Eminent domaln 1 Inv Com (G)
                                   Wrongful eviction (33)                                                  ( j         17        Wrongful eviction (G)
                                 10ther n:al propeq (26)                                                               36        Other reaf property (G)
Unlawfut Detainer                  Commercial (31)                                                         j J         94        Uniawfui Deta•mer- commercial                               Is the deft in possession
                                  Residential (32)                                                         [ j         47        Unlawfu( Detainer - residenfial                             of the property7
                                   Dru s(38)                                                                    1      21        Unlawful detainer - drugs                                   I j Yes    [] No
Judidat Review                     Asset fodeiture (05)                                                    [ j         41        Asset forfeifure
                                   Peti6Dn re: arbitration award (11)                                     ( j      62 Pet re: arb'drafion award
                                   WrtT of Mandate (02)                                                   [ j       49 Wrif of mandate
                                                                                                          (s thts a CEQA action (Pubi.Res.Code section 21000 et seq) [ j Yes [ j No
                                     Other judicial review (39                                            1 1       64 Oiher udicia! review
Provisionally                        Antitrust ! Trade regulation (03)                                     [ j          77       Antitrust f Trade regulation
Complex                              ConstrucGon defect (10)                                               []           82       Constntcction defect
                                     Cfaims involvirtg mass tort (40)                                      j j         78        Claims invoiving mass tort
                                     Securities rOigation (28)                                             ( j          91       Securities litigation
                                   Toxic tort! Environmentat (30)                                          []           93       Toxoc tort / Env'uonmenial
                                   !ns covro fram cm tx case                           41                               95       Ins covrg from compiex caso type
Enforcement of                       Enforcement of judgment (20)                                          (]          19        Enforcement of judgment
Judgment                         1                                                                              1       08       Confession of judgment
Misc Compiaint                       RICO (27)                                                             [ j          90       RICO (G)
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                                     Other com laint (42)                                                    j          68       Ali other com laints G
Misc. Civil Petftion                 Other petifion (43)                                                   [ j         OB        Chenge of name
                                                                                                           (            69       Other pablion
           202-19 (511100)                                                                                                                                                                                          A-13
  Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 6 of 44


F Gibbs Law Group LLP                            ~          F Thomson Reuters Corporation
  Attn: Mura, Andre M.
  505 14th Street
  Suite 1110
L Oakland, CA 94612                              1          L


                    Superior Court of California, County of Alameda
                     Rene C. Davidson Alameda County Courthouse

 Brooks                                                                No. RG20082878
                                  Plaintiff/Petitioner(s)
                        vS.
                                                                    NOTICE OF HEARING
 Thonison Reuters Corporation
                               Defendant/Respondent(s)
                 (Abbreviated Title)

          To each party or to the attorney(s) of record for each party herein:
          Notice is hereby given that the above-entitled action has been set for:
                               Complex Deternunation Hearing
                               Case Management Conference

          You are hereby notified to appear at the follow-ing Court location on the date and
          time noted below:

   Complex Determination Hearing:
   DATE: 02/03/2021 TIME: 09:00 AM DEPARTMENT: 21
   LOCATION: Administration Building, Fourth Floor
                12210ak Street, Oakland

   Case Management Conference:
   DATE: 03/03/2021 TIME: 09:00 AM DEPARTMENT: 21
   LOCATION: Administration Building, Fourth Floor
               12210ak Street, Oakland


      Pursuant to California Rules of Court, Rule 3.400 et seq. and Local Rule 3.250 (Unified Rules of
      the Superior Court, County of Alameda), the above-entitled matter is set for a Complex Litigation
      Deternunation Hearing and Initial Complex Case Management Conference.

      Department 21 issues tentative rulings on DomainWeb (www.alameda.courts.ca.gov/domainweb).
      For parties lackuig access to DomainWeb, the tentative ruling must be obtained from the clerk at
      (510) 267-6937. Please consult Rule 3.30(c) ofthe Unified Rules ofthe Superior Court, County of
      Alameda, concerning the tentative ruling procedures for Department 21.

      Counsel or party requesting complex litigation designation is ordered to serve a copy of this notice
      on all parties omitted from this notice or brought into the action after this notice was mailed.

      All counsel of record and any unrepresented parties are ordered to attend this Initial Complex Case
      Management Conference unless othenvise notified by the Court.

      Failure to appear, comply with local rules or provide a Case Management Conference statement
      may result in sanctions. Case Management Statements may be filed by E-Delivery, by submitting
      directly to the E-Delivery Fax Number (510) 267-5732. No fee is charged for this service. For
      fiirther inforntation, go to Direct Calendar Departments at
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       http://apps.alameda.courts.ca.gov/domainweb.

       All motions in this matter to be heard prior to Complex Litigation Determination Hearing must be
       scheduled for hearing in Department 21.

       If the information contained in this notice requires change or clarification, please contact the
       courtroom clerk for Department 21 by e-mail at Dept21@alameda.courts.ca.gov or by phone at
       (510) 267-6937.

       TELEPHONIC COURT APPEARANCES at Case Management Conferences may be available by
       contacting CourtCall, an independent vendor, at least 3 business days prior to the scheduled
       conference. Parties can make arrangements by calling (888) 882-6878, or faxing a service request
       form to (888) 883-2946. This service is subject to charges by the vendor.


       Dated: 01/06/2021                     Chad Finke Executive Officer / Clerk of the Superior Court
                                                              A      ~                  ogaei
                                                                                    .
                                                  By      .1f 1ul
                                                                                                  Deputy Clerk
                                     CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and not a party to
this cause. I served this Notice by placing copies in envelopes addressed as shown hereon and then by
sealing and placing them for collechon, stamping or metering with prepaid postage, and mailing on the date
stated below, in the United States mail at Alameda County, Califomia, following standard court practices.
                Executed on 01/07/2021.
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                                                                                                  Deputy Clerk
                Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 8 of 44



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     19
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
     2011
                                             COUNTY OF ALAMEDA
     21
              CAT BROOKS and RASHEED                       Case No.          `    ~     +'l`~
     22       SHABAZZ, individually and on behalf                        k
     23       of all others similarly situated,
                                                           CLASS ACTION COlbiPLAINT
     24                              Plaintiffs,
     25                                                    DEMAND FOR JURY TRIAL
                           V.
 26                                                        COMPLE?C
 27           THOMSON REUTERS CORPORATION,

 28                                  Defendant,


                                              CLASS ACTION COMPLAINT
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 1           1. Thomson Reuters is best known for its news agency (Reuters) and its online legal-
 2   research service (Westlaw). But the company makes money in another, lesser-known way: It
 3   collects a vast quantity of photos, ident-ifying information, and personal data from American
 4   consumers, including Californians, without their consent and sells that information to
 5   corporations, law enforcement, and government agencies. Those whose identities the company
 6   sells, however, receive no compensation. Most of them dori t even know it is happening.
 7           2. Thomson Reuters sells this information through an online platform it calls CLEAR.
 8   CLEAR provides access to a database that aggregates both public and non-public information
 9   about millions of people and contains detailed cradle-to-grave dossiers on each person,
10   including names, photographs, criminal history, relatives, associates, financial information,
11   and employment information. The company advertises that CLEAR enables its users to access
12   "both surface and deep web data to examine intelligence" about people "not found in public
13   records or traditional search engines." This allows CLEAR users "to uncover" personal "facts
14   hidden online," by scraping "real-time information" about individuals from social networks,
15   blogs, and even chat rooms. The CLEAR database also includes information from third-party
16   data brokers and law eliforcement agencies that are not available to the general public,
17   including live cell phone records, location data from billions of license plate detections, real-
18   time booking informaiion from thousands of facilities, and millions of historical arrest records
19   and intake photos. This information is "fused and vetted by algorithm to form" what the Nezv
20   York Tiines described as "an ever-evolving, 360-degree view of U.S. residents' lives."1
21           3. Because of CLEAR, Californians' identities are up for sale without their knowledge,
22   let alone consent. Named plaintiff Cat Brooks, for example, is an activist, who has spent years
23   fighting police violence, particularly in communities of color. Because of her work, Ms. Brooks
24   is targeted by white supremacist groups. Concerned for her safety and that of her family, Ms.
25   Brooks works hard to maintain ownership and control over her personal information. She even
26   subscribes to a service that routinely scrubs her personal information from the ulternet. Yet,
27
     1 McKenzie Funk, Hozv ICE Picks Its Targets in the Surveillance Age, N.Y. Times (Oct. 3, 2019)
28   https: // www.nytimes.com/ 2019/ 10/ 02/ magazine/ ice-surveillance-deportation.html.

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 1 I CLEAR offers a"360-degree view' of her life: Her address, her cell phone number, and
 2 information about her relatives, neighbors, and associates, are all for sale without her consent.
 3          4.   Ms. Brooks is not alone. Thomson Reuters sells detailed dossiers on Californians
 4   across the state, people who have no idea their personal information is being appropriated,
 5   aggregated, and sold over the internet. California's common law right of publicity has long
 6   protected the right of its residents to determine for themselves whether, how, and to what
 7   extent their personal information is disseminated. Similarly, California's Unfair Competition
 8   Law prohibits corporations from engaging in unlawful and unfair acts, which include
 9   appropriating a persoris personal information and selling it without their consent. Yet that is
10   precisely what Thomson Reuters is doing with CLEAR, depriving Californians of their
11   autonomy, dignity, and ownership of their own identities in the process.
12         5.    This lawsuit seeks to remedy Thomson Reuters' repeated violations of the plaintiffs
13   and class members' publicity rights and to enjoin the company from continuing to profit off
14   their personal information without their consent.
15                                              PARTIES
16         6.    Plaintiff Cat Brooks is a resident of Alameda County, California, whose name,
17   photo, likeness, and other personal information Thomson Reuters has appropriated and sold
18   without her consent.
19         7.    Plaintiff Rasheed Shabazz is a resident of Alameda County, California, whose name,
20   photo, likeness, and other personal information Thomson Reuters has appropriated and sold
21   without his consent.
22         8.    Defendant Thomson Reuters Corporation is a multinational media company
23   headquartered in Toronto, Canada.
24                                   JURISDICTION AND VENUE
25         9.    This Court has jurisdiction over this matter because Thomson Reuters is licensed to
26   do business in California, regularly conducts business in California, and purposefully targets
27   California residents for the collection and sale of personal information without consent. The
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                                     CLASS ACTION COMPLAINT
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 1 company also regularly collects information about California residents from California sources.
 2   And it systematically sells CLEAR to California residents.
 3          10. Venue is appropriate in this Court under Code of Civil Procedure section 395(b)
 4   because Thomson Reuters does not reside in this state and Plaintiffs reside in Alameda County,
 5 I California.
 6                                          FACTUAL ALLEGATIONS
 7       CLEAR aggregates billions of data points about individuals and sells this inforrnation
 8                         without obtaining consent or providing compensation.
 9          11. Thomson Reuters collects and aggregates "billions of data points" about
10   individuals — including their photos, names, and personal identifying information — into
11   searchable dossiers about each person and sells these dossiers through its CLEAR platform for
12   substantial profits.2
13          12. At no point during its process of collecting, packaging, and selling individual
14   information does Thomson Reuters ever ask individuals for their consent. In the vast majority
15   of cases, the individuals do not even know that Thomson Reuters has collected their personal
16   information and data — let alone that it is selling this information for profit.
17          13. Thomson Reuters has never offered individuals compensation for the sale of their
18   photos, names, identifying iriformation, or other personal data. And it provides no mechanism
19   by which individuals can seek compensation.
20          14. The information aggregated and stored on the CLEAR database—which the
21   company collects from public records, government sources, internet searches, and third-party
22   data brokers — is highly personal and even confidential. For example, the CLEAR database
23   includes data from government agencies and corporations that is not available to the general
24   public, such as live cell phone records and license plate detections.
25          15. Thomson Reuters also collects data from law enforcement, includulg real-time
26   booking images and informat-ion from local jails and corrections departments. According to its
27
     2Thomson Reuters, Tltontson Reuters CLEAR,
28   https: //legal.thomsonreuters.com/ en/ products/ clear-investigation-software.

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 1   website, Thomson Reuters has acquired 90 million historical arrest records, including intake
 2   photos. Taken together, Thomson Reuters estimates that CLEAR houses over 38 million images
 3   gathered from over 2,000 agencies in over 40 states.3
 4              16. In addition, the company purchases and consolidates information held by third-
 5   party data tracking firms, data brokers, and other companies that compile consumer and
 6   location data—private firms that the Wall Street Journal once dubbed "Big Brother-in-Law."4
 7   This u~iformation includes data from credit agencies, DMV records, cellphone registries, social-
 8   media posts, property records, utility accounts, professional and fishing licenses, internet chat
 9   rooms, court records, and bankruptcy filings. All of this information is then "fused and vetted
10 by algorithm to form an ever-evolving, 360-degree view of U.S. residents' lives."5
11       17. Even with respect to public-record informaiion, CLEAR gives users the ability to
12 search and analyze massive amounts of data that they would not otherwise be able to access
13 on their own—in almost real time. For example, CLEAR has "real-time access to address and
14 name-change data from credit reports and to motor-vehicle registrations from 43 U.S. states
15 plus the District of Columbia and Puerto Rico." And its "utility records, which come from more
16 than 80 electric, gas, water, telephone, cable and satellite television companies nationwide, are
17 updated daily." Likewise, "[i]ncarceration and arrest records, often paired with booking photos
18 that allow for facial-recognition-powered virtual lineups, arrive almost immediately from 2,100
19 state and local agencies."6
20        18. On the page of its website describing CLEAR's corporate pricing plans, Thomson
21 Reuters explains that its "intermediate" and "comprehensive" plans permit users to access
22 "both surface and deep web data," which includes data that is not ascertainable via public
23 records or traditional search engine queries.7 A marketing brochure similarly states that
24   3Thomson    Reuters, CLEAR Plans aild Pricii2g,
     https: // legal.thomsonreuters.com/ en/ products/ clear-investigation-software/ plans-pricing.
25   4 McKenzie Funk, How ICE Picks Its Targets iri the Suweillance Age, N.Y. Times (Oct. 3, 2019)

26   https: // www.nytimes.com/ 2019/ 10/ 02/magazine/ ice-surveillance-deportation.html.
     5 Id.

27   6   Id.
     7 Thomson Reuters CLEAR Plans and Pricing, https://legal.thomsonreuters.com/en/products/clear-
28   investigation-software/ plans-pricing#corporate.

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 1   CLEAR's "Web Analytics" are capable of uncovering "facts hidden online" through its deep
 2   web search technology.$
 3            19. In addition, corporate customers who purchase CLEAR's "comprehensive" plan
 4   have access to not only individuals' own personal information, but computer-generated lists of
 5   that subject's relatives and associates and their personal information.9
 6    CLEAR sells custorners the ability to easily and quickly search for a specific individual's
 7                                   personal and non-public information
 8            20. Thomson Reuters advertises CLEAR as a"user-friendly platform," which offers
 9   customers an "easier ... search experience that brings together key proprietary and public
10   records ulto one intuitive, customizable environment." According to the company, CLEAR
11   allows users to "quickly search across thousands of data sets and get accurate results in less
12   time."
13            21. CLEAR's products are widely used. The platform receives approximately 100,000
14   search queries each day.
15            22. Users sign into the CLEAR platform through a portal similar to Thomson Reuters' i
16   well-known Westlaw sign-in page.
17            23. CLEAR offers users the ability to conduct numerous types of searches for a targeted
18   individual or entity, including a"person search" and a"risk inform" search.
19            CLEAR's Person Search:
20            24. CLEAR prompts users conducting a"person search" to input iiiformation such as
21   an individual's name, address, contact information, social security number, date of birth, age
22   range, or driver's license number in order to locate a targeted individual.
23            25. The directions for filling out the "age range" field direct the user to enter "1 to 3
24   digits," indicating that CLEAR permits searches for minors as well as adults.
25
26   $ Thomson Reuters CLEAR Brochure, availnble at:
     https: // www.thomsonreuters.com/ content/ dam/ openweb/ documents/ pdf/ legal/ fact-sheet/ clear-
27   brochure.pdf.
     9 Thomson Reuters, CLEAR Plaiis mid Pticiitg, https://legal.thomsonreuters.com/en/products/clear-
28   investigation-software/plans- pricing#corporate.

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 1              26. The "person search" results bring the user to a landing page with personal
 2       identifying information. A column on the side of the screen includes the target individual's full
     I
 3       name, age, current address, and partial social security numbers; "vital statistics," such as date
 4       of birth, gender, and former names; and former addresses and phone numbers.
 5              27. The "person search" results page also features a dashboard of additional tools
 6       allowing a user to dive deeper into the targeted individual's profile. The front page of the
 7       dashboard displays "possible quick analysis flags," which indicate whether, according to
 8       CLEAR's database, the individual's profile includes various putative risk factors, such as
 9       bankruptcies, arrests, a criminal record, or "associate[s] or relative[s]" with arrests or criminal
10       records.
11              28. CLEAR's "web analytics" tool, available via the dashboard, permits the user to
12       browse through images and profiles of the targeted person, as well as individuals with similar
13       names. It also provides search hits for the targeted individual from websites. These results can
14       be filtered by various metrics, including city, country, "FamilyRelation," "PersonAttributes,"
15       and "PersonRelationship."
16              29. The "person search" dashboard also offers a number of other tools, such as a
17   "graphical display" tool that provides visual depictions of the targeted uldividual's legal
18       history, as well as the uidividual's relationship to registered agents, relatives, and other people
19   with whom the individual shares phone numbers; an "associate analytics" tool exploring the
20 personal information of a targeted individual's purported family members and other .
21 "associates"; and a"map analytics" tool allowing a user to view all of the addresses associated
22   witli the targeted individual on a detailed map, which includes satellite imagery.
23             30. Users may also create a report from the results of tlle "person search," including
24   detailed information not only about the targeted individual, but also that person's relatives,
25   "associates," neighbors, addresses, properties, vehicles, and busulesses in the report.
26             CLEAR's Risk Inform Search:
27             31. CLEAR's "risk inform" search creates a detailed report of the putative risks
28

                                          CLASS ACTION COMPLAINT
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  1   associated with a targeted individual, summarizing a persoris purported "risk" using a
 2    numerical score.10 A"risky" person has a high score, while a"safe" person has a low score.
 3                 32. The age range field for the "risk inform" search directs users to enter "1 to 3 digits,"
 4    again indicating that this tool may be used to profile minors as well as adults.
 5                 33. The "risk inform" results include the same "vital statistics," address, contact
 6    information, web analytics information, and photographs that CLEAR provides in a"person
 7    search."
 8                 34. In addition, the "risk inform" results include an automatically generated "risk
 9    inform score."
10
11
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24                35. The potential "flags" identified as components of this score demonstrate the breadth
25 and sensitivity of the information included in
                                                  the CLEAR database. For instance, under a list of I
26 "custom" flags, which appear to be associated with
                                                                                                           a wide range of state criminal offenses:
27
      10Thomson Reuters, CLEAR Risk biforrii, https://legal.thomsonreuters.com/en/products/clear-investigation-
28    software/ clear-risk-inform.

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 1             a. CLEAR includes indicators for several types of conduct related to "Abortion,"
 2                 including "Abortional Act on Self";
 3             b. Under the header "Breach of the Peace," CLEAR includes uldicators for speech and
 4                 protest-related activity, including "Anarchism," "Desecrating a Flag," and
 5                 "Engaging in a Riot," and in subsequent sections, it also identifies "Indecent,
 6                 Obscene, or Vulgar Language" and "Refusing to Aid a Police Officer";
 7            c. CLEAR includes indicators for "Homosexual Act with a Man" and "Homosexual
 8                 Act with a Womari";
 9            d. Under the header "Weapons Offenses," CLEAR includes indicators for "Licensing
10                - Registered Weapori" and "Possession of a Weapori"; and
11            e. CLEAR also includes flags for intrusive conduct under the header "Invasion of
12               Privacy."11
13           36. Several of CLEAR's "risk inform" flags are automatically triggered if the targeted
14   uldividual changes their name, as illustrated by the dossiers on both of the named plaintiffs
15   described below. Members of groups that are more likely to change their names — such as
16   women who marry, victims of domestic violence, trans people, and Muslim converts — are
17   thereby more likely to be tagged as "risky" by CLEAR's "risk iliform" product.
18           37. Clicking on any of the "risk inform" flags enables the user to see additional
19   information about the alleged offense or trigger.
20           38. As with the "person search," CLEAR permits users to generate a report of the "risk
21   inform" results that may include ulformation about the targeted individual as well as their
22   relatives, associates, and neighbors.
23
24
25   11Although it has been held unconstitutional to use several of the items identified under "Criminal Records" as
26   the basis for a criminal charge, it is unclear whether CLEAR determines whether these "flags" are triggered strictly
     using criminal records and whether it takes account of whether charges have subsequently been sealed or
27   expunged. Moreover, it is unlikely that CLEAR's algorithm discounts criminal charges in its database that predate
     changes in the criminal code (e.g., a charge for private homosexual conduct that preceded the Supreme Court's
28   ruling in Lnzoreiice v. Texns, 539 U.S. 558 (2003)).

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 1     Thomson Reuters has offered the named plaintiffs' personal and sensitive inforniation for
 2                         sale through CLEAR, without the plaintiffs' consent
 3          39. Neither of the named plaintiffs ever agreed to permit Thomson Reuters to collect,
 4   store, or sell their personal information. Thomson Reuters has never asked either of them for
 5   their consent, nor has it offered them compensation for selling their personal information.
 6          40. Nevertheless, Thomson Reuters sells its customers access to extensive personal and
 7   sensitive information about both of the named plaintiffs on CLEAR.
 8          Cat Brooks:
 9          41. Named plaintiff Cat Brooks is a Black activist and actress. Ms. Brooks has been
10   targeted by white supremacist groups as a result of her activism: She receives hateful emails
11   and threats at her home. She also fears retaliati.on from law enforcement. Out of concern for her
12   safety and that of her family, Ms. Brooks has taken active steps to remove her personal
13   information from the internet, including subscribing to a service that routinely deletes
14   identifying information.
15          42. Ms. Brooks did not give Thomson Reuters consent to include her identity and
16   identifying information in the CLEAR database. Thomson Reuters neither asked Ms. Brooks
17   for permission to sell her identifying information, nor paid Ms. Brooks for the right to sell it.
18          43. Nevertheless, CLEAR's database includes extensive information about Ms. Brooks.
19   CLEAR's "individual report" on Ms. Brooks includes a trove of information, including a social
20   security number that is only partially redacted, current address, cell phone number, prior
21   addresses, and details about her current employer, her business, and licenses. It also identifies
22   her neighbors, relat-ives, and "associates" — both current and past— and provides detailed
23   information about them.
24          44. Ms. Brooks changed her name in connection with her activist work. CLEAR's
25   dossier on Ms. Brooks also contains her prior name, as well as detailed information associated
26   with that name. In addition, CLEAR's "risk inform" report on Ms. Brooks heavily penalizes her
27   for changing her name: All of the risk factors it identifies for Ms. Brooks are associated with her   I


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 1   name change, including "Duplicate Personally Identifiable Information," "First Appearance in
 2   Public Records content after 30," "SSN Matched to Multiple Individuals," and "Thinness of
 3   File." As a result, Ms. Brooks is saddled with a high "risk inform" score, indicated in bold red.
 4   CLEAR's "individual report" of information associated with Ms. Brooks' prior name is also
 5   extensive.
 6           45. CLEAR also provides photographs of Ms. Brooks.
 7           46. At the bottom of a Thomson Reuters' webpage about CLEAR — only visible after
 8   scrolling past two or more pages of text—there is a link in very small font that says: "For CA:
 9   Do not sell my information."12
10           47. Clicking on the link sends visitors to a page that purports to allow California
11   residents to opt out of the sale of their "personal information" for a period of "at least twelve
12   (12) months."
13           48. Beyond its presence in tiny font at the very bottom of its webpages, Thomson
14   Reuters provides no notice to consumers that this link exists. Nor does the company enable
15   California consumers who happen to find out about the link to easily make use of it. 13
16           49. Ms. Brooks clicked the "For CA: Do not sell my informatiori" link, seeking to opt out
17   of the sale of her personal information via CLEAR. However, when she attempted to do so,
18   Thomson Reuters required that she provide a photograph of her government-issued
19   identification card as well as a separate picture of her face. Given that Thomson Reuters is
20   already selling her personal information without her consent, Ms. Brooks was not comfortable
21   providing further personal uiformation to tlie company, and thus she could not complete the
22   company's process.
23           Rasheed Shabazz:
24           50. Named plaintiff Rasheed Shabazz is a Black Muslim journalist and activist. He is
25
     12 https:/ /legal.thomsonreuters.com/en/products/clear-investigation-software.
26   13 Several Thomson   Reuters webpages also include a second link at the bottom of the page that say: "Do not sell
27   my personal information." Clicking on one of these links brings up a pop-up window that states that the
     personal information to which it refers is inforination collected by cookies stored on the visitor's browser "to
28   collect information."

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 1 concerned about being targeted by people who disagree with his writing,lus teaching, and his
 2   activism, as well as by people who simply dislike his identity. He does not want his personal
 3   information to be publicly available.
 4          51. Mr. Shabazz did not give Thomson Reuters consent to include his identity and
 5   identifying information in the CLEAR database. Thomson Reuters neither asked Mr. Shabazz
 6   for permission to sell his identifying information, nor paid Mr. Shabazz for the right to sell it.
 7          52. Mr. Shabazz does not want Thomson Reuters to profit from his identity. He also
 8   does not want Thomson Reuters to present the story of his life to others without his input.
 9          53. But CLEAR's "individual report" on Mr. Shabazz includes detailed information
10   such as his current and prior addresses, employer information, phone numbers, a partially
11   redacted social security number, his "associates," his neighbors—and their addresses and
12   phone numbers.
13          54. Because, in Mr. Shabazz's view, the last name he was given at birtli was associated
14   witli the slave owners who held his ancestors in bondage, Mr. Shabazz legally changed his
15   name to one he felt was a better representation of himself and his family. CLEAR hlcludes
16   detailed information associated with Mr. Shabazz's prior name, including the same partially
17   redacted social security number, his race, and physical addresses, email addresses, and phone
18   numbers. Some of this information is inaccurate: CLEAR's profile on Mr. Shabazz's prior name
19   indicates that Mr. Shabazz was divorced, when he has never legally been married, and that he
20   has been sued for failing to pay child support, when he has no children.
21          55. Like Ms. Brooks, CLEAR's "risk inform" report penalizes Mr. Shabazz for changing
22   his name: His "risk inform score" is based on flags indicating "First Appearance in Public
23   Records after 30," "No relatives," and "SSN Matched to Multiple Individuals."
24          56. CLEAR provides photographs of Mr. Shabazz, includulg a profile picture CLEAR
25   has chosen for the account they sell.
26          57. Mr. Shabazz also attempted to opt out of the sale of 1us personal information by
27   clicking the "For CA" link provided at the bottom of Thomson Reuter's webpages. However,
28

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 1   wlien he attempted to do so, Thomson Reuters required that he provide a photograph of his
 2   government-issued identification card as well as a separate picture of his face. Given that
 3   Thomson Reuters was selling his personal i_nformation without his consent, Mr. Shabazz was
 4   not comfortable providing further personal information to the company, and thus he could not
 5   complete the company's process.
 6        Thomson Reuters makes substantial profits from its sale of personal data and identifying
 7                                       infornnation through CLEAR
 8            58. Thomson Reuters markets the CLEAR platform to individuals, private corporations,
 9   law enforcement, and other government agencies.
10            59. Thomson Reuters stores and collects CLEAR data ul one or more of its Strategic Data
11   Centers. To access this data, an individual can pay for a monthly subscription for one or more
12   of Thomson Reuters' CLEAR data "plans." A customer can also choose to pay per individual
13   search, demonstrating the value that each individual profile in CLEAR's database holds for
14   Thomson Reuters. CLEAR offers tailored subscription plans for law enforcement, goveriunent
15   agencies, and private corporations, respectively. Thomson Reuters charges individual users a
16   monthly rate for access to its many CLEAR programs.
17            60. Thomson Reuters makes significant profits from the collection, aggregation, and
18   sale of individuals' names, photographs, likenesses, identifying information, and personal data
19   tlirough its CLEAR products.
20            61. Thomson Reuters charges users for each component of CLEAR's search
21   functionalities. It offers both flat rate and "pay-as-you-go" pricing models, with a minimum
22   contract term of twelve months.14
23            62. In Thomson Reuter's "pay-as-you-go" pricing model, users pay per each component
24   of a search and per report. For ulstance, in one pricing schedule, Thomson Reuters indicated
25   that users would pay $5.00 for a basic "Person Search," with additional charges added for
26   additional information. According to this schedule, users also incur additional charges for a
27
     14Thomson Reuters, CLEAR Plans and Pricing, https://legal.thomsonreuters.com/en/products/clear-
28   investigation-software/ plans-pricing#corporate.

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 1 "Photo Line-Up Search" and a"Web Analytics Search." Thomson Reuters also charges
 2   separately to use CLEAR's "Risk Inform" product, up to $6.75 for a"premium" search. And
 3   users must also pay additional fees to generate reports from their searches: An "individual
 4   report" costs $15.00, witli additional charges added to include "associates" or "Risk Inform"
 5   data in the report.15
 6            63. Government records offer another glimpse into the revenues that Thomson Reuters
 7   derives from its sale of CLEAR products. U.S. Immigration and Customs Enforcement ("ICE")
 8   has signed over $54 million in contracts with Thomson Reuters to access CLEAR for purposes
 9   of surveilling and tracking immigrants.
10        Tlzonzson Reuters is aware of the privacy concerns posed by its appropriation and sale of
11                               individuals' personal data without tlieir consent
12            64. Thomson Reuters knows that its aggregation and sale of personal data without
13   consent implicate significant privacy concerns.
14            65. In an article posted on its website for "insights" on "legal" issues, Thomson Reuters
15   acknowledges the negative privacy consequences that flow from the non-consensual sale of a
16   persoris personal data. As it explains, "[s]econdary uses of personal data" — that is, uses of a
17   persoris data for purposes the person didri t intend or consent to —"pose the most risk and
18   unintended harm to people." Individuals are blindsided by these secondary uses because they
19   rightfully assume that even if their personal information has been uploaded somewhere, that
20   "doesri t mean permission has been given to share that information everywhere."16
21            66. By the company's own admission, "the amount of digital data being collected and
22   stored" by corporations that profit off of personal data has reached "unprecedented rates."
23   Data analytics, a service which the company provides to its CLEAR customers, "has enormous
24   power to reveal seemingly hidden patterns." According to Thomson Reuters, data analytics
25   processes can be so invasive that their insights "can even predict behavior," thereby
26
     75 Thomson Reuters, CLEAR Services Scliedule A Couuuercial Stibscriber's Accessiug Erihanced CLEAR Sevices,
27   https: / / static.legalsolutions.thomsonreuters.com/static/ agreement/ schedule-a-clear.pdf.
     16 Thomson Reuters, Big Data etliics: t•edefining values iu the digitrrl world,
28   https: // legal. thomsonreuters.com/ en/ insights/ articles/big-data-ethics-redefining-values-in-the-digital-world.

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 1 "threaten[ing] individual identity."17
 2            67. Because CLEAR's database is privately owned, it is not subject to the privacy
 3   protections that apply to government collection and storage of personal data. Commentators
 4   have observed that government agencies like ICE and local law enforcement may be able to
 5   avoid constitutional and statutory limitations by purchasing personal data from data brokers
 6   and other private companies like Thomson Reuters.1$
 7            68. Despite Thomson Reuters' awareness that consent should be acquired before
 8   sharing personal information, the company never asks the individuals whose information is
 9   contained in the CLEAR database for their consent.
10            69. In fact, most individuals have no way of knowing that Thomson Reuters has bought,
11   collected, aggregated, or sold their personal data.
12                                      CLASS ACTION ALLEGATIONS
13            70. Under Code of Civil Procedure section 382 and Rule of Court 3.760 et seq., the
14   plaintiffs bring claims one, two, and three of this action on behalf of themselves and the
15   following proposed class:
16
              All persons residulg in the state of California whose name, photographs, personal
17
              identifying ulformation, or other personal data is or was included in the CLEAR
18            database during the limitations period.
19            71. The proposed class definition excludes any officers and directors of Thomson
20   Reuters; Class Counsel; and the judicial officer(s) presiding over this action and the members
21   of his/her immediate family and judicial staff.
22            72. The number of class members is unknown to the plaintiffs, but it likely includes
23   nearly all Californians. hi light of Thomson Reuters' claims that the CLEAR database contains
24   "billions of data points," including more than 140 million booking records and over 38 million
25   images of individuals, the class is so numerous that joinder of all members is impractical.
26
27   » Id.
     18 Gilad Edelman, Cau the Government Bity Its Way Around the Fourtli Amendment?, Wired (Feb. 11, 2020),
28   https: / / www.wired.com/ story/ can-government-buy-way-around-fourth-amendment/ .

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 1          73. There are questions of law and fact common to the class, which predominate over
 2   any questions affecting only individual class members. These questions include, but are not
 3   limited to, the following:
 4           a. Whether Thomson Reuters' collect-ion and sale of personal data through the CLEAR
 5              platform violates California's common law right of publicity.
 6           b. Whether Thomson Reuters' collection and sale of personal data through the CLEAR
 7              platform violates California's Unfair Competition Law, Cal. Bus. & Prof. § 17200, et
 8              seq.
 9           c. Whether Thomson Reuters has a process for obtaining consent before collecting,
10              aggregating, and selling individuals' personal data in the CLEAR database.
11           d. Whether Thomson Reuters' sale of personal data through the CLEAR platform
12              constitutes a misappropriation for commercial advantage under California law.
13           e. Whether class members' names, photographs, and other identifying information are
14              directly connected to the commercial purpose of se11u1g access to that information.
15           f. The extent to which Thomson Reuters has profited from the non-consensual sale of
16              personal identifying information and data.
17          74. These and other legal and factual questions are common to all class members. There
18   are no individual questions that will predominate over common questions.
19          75. The plaintiffs will fairly and adequately protect the iiZterests of the class because
20   their interests are aligned with, and not antagonistic to, those of the other members of the class.
21   In addition, the plaintiffs have retained counsel experienced in handling class claims and claims
22   involving unlawful business practices. Neither the plaintiffs nor their counsel have any
23   interests which might cause them not to vigorously pursue this claim.
24          76. The plaintiffs' claims are typical of the claims of the members of the class. The
25   plaultiffs and the class members sustained damages arising out of the defendant's common
26   course of unlawful conduct. The damages and injuries of each class member were directly
27   caused by the defendant's wrongful conduct.
28

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 1            77. There are no defenses of a unique nature that may be asserted against the plaintiffs
 2   individually, as distinguished from the other members of the class, and the relief sought is
 3   common to the class.
 4            78. A class action is a superior method for the fair and efficient adjudication of this
 5   controversy. Individual cases are not economically feasible given the amounts at issue and the
 6   difficulties in litigating such a case.
 7            79. The prosecution of separate actions by individual members of the class would create
 8   a risk of inconsistent or varying adjudications with respect to individual members of the class,
 9   and a risk that any adjudications with respect to individual members of the class would, as a
10   practical matter, either be dispositive of the interests of other members of the class not party to
11   the adjudication or substant-ially impair or impede their ability to protect their interests.
12          80. Class certification is also warranted for purposes of injunctive and declaratory relief
13   because the defendant has acted or refused to act on grounds generally applicable to the class,
14   so that fu1a1 injunctive and declaratory relief are appropriate with respect to the class as a
15   whole.
16                                             CLAIMS FOR RELIEF
17                                       FIRST CAUSE OF ACTION
18                    Common Law Right to Publicity/Misappropriation of Likeness
19          81. Plaintiffs repeat and incorporate by reference each preceding paragraph as if fully
20 I stated herein.
21          82. California's common-law right of publicity protects people from the unauthorized
22   appropriation of their identity by another for commercial gau1.
23          83. Thomson Reuters has used the named plaintiffs' and class members' identities by
24   collecting, aggregating, and selling their names, images, likenesses, and other personal
25   identifying information through products linked to its CLEAR database.
                                           ,
26          84. Thomson Reuters appropriated the named plaintiffs' and class members' identities
27   for its own commercial and economic advantage.
28

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 1          85. At no time has Thomson Reuters sought consent from class members before
 2   appropriating and selling their personal data through its CLEAR products, nor does it have a
 3   process for doing so.
 4          86. The class members received no compensation for Thomson Reuters' use of their
 5 I identities.
 6          87. Thomson Reuters' appropriation and sale of the plaintiffs' and class members'
 7   names, photographs, likenesses, and personal information without their consent injured the
 8   class members by violating their privacy. In particular, Thomson Reuters has prevented — and
 9   continues to prevent—the named plaintiffs and class members from retaining control over the
10   dissemination of their personal information.
11          88. The named plaintiffs and the class members have also suffered economic injury
12   because they were not compensated by Thomson Reuters for the use of their name,
13   photographs, likeness, and other personal identifying information.
14          89. The named plaintiffs and class inembers are entitled to compensatory damages,
15   restitution, declaratory relief, and injunctive relief.
16                                    SECOND CAUSE OF ACTION
17                 Unfair Competition Law, Cal. Bus. & Prof. § 17200, Monetary Relief
18          90. Plaintiffs repeat and incorporate by reference each preceding paragraph as if fully
19 I stated herein.
20          91. California Business and Professions Code section 17200 et seq. ("UCL") prohibits
21 "unlawful, unfair, or fraudulent business acts or practices."
22          92. By sellulg Californians' personal information and data without consent, as
23   described above, Thomson Reuters has engaged in unlawful and unfair acts and practices
24   prohibited by the UCL.
25          93. Thomson Reuters' conduct is unlawful under the UCL because it violates
26   California's common-law right of publicity, as discussed in the first cause of action.
27          94. In addition, Thomson Reuter's conduct is unlawful under the UCL because it
28

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 1   violates Califoriva Civil Code section 3344(a).
 2          95. California Civil Code section 3344(a) provides that "[ajny person who knowingly
 3   uses another's name, voice, signature, photograph, or likeness, in any manner, on or in
 4   products, merchandise, or goods, ... without such persoris prior consent ... shall be liable for
 5   any damages sustained by the person or persons injured as a result tliereof."
 6          96. Thomson Reuters knowingly used and continues to use the names, photographs,
 7   and other identifying information of the class members in its CLEAR database, and for the
 8   purpose of selling access to products linked to the CLEAR database. Thomson Reuters' use of
 9   this information is not an accident; it is central to these products.
10          97. Thomson Reuters' appropriation of the class members' names, photographs, and
11   otlier identifying information was to the company's economic and commercial advantage. The
12   company has generated millions of dollars of revenue from CLEAR.
13          98. At no time has Thomson Reuters affirmatively sought consent from class members
14   before appropriating and selling their personal data, nor does it have a process for doing so.
15          99. The class members received no compensation for Thomson Reuters' use of their
16   names, images, likenesses, and other personal identifying iriformation.
17         100. Thomson Reuters' use of class members' names, photographs, and other identifyulg
18   information is directly connected to its products' commercial purposes: Products linked to the
19   CLEAR database would be without value if the CLEAR database did not include class
20   members' names, photographs, and identifying information. Class members' names,
21   photographs, and identifying information are not ancillary to these products — they are the
22   product.
23         101. Indeed, Thomson Reuters' entire marketing strategy relies on emphasizing the vast
24   quantity of photographs, names, and other identifying information that is readily available to
25   potential subscribers of CLEAR. Thomson Reuters' appropriation and sale of the named
26   plaintiffs' and class members' names, photographs, likenesses, and personal information
27 ' without seeking permission or consent injured the class members by violating their right to
28

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 1   exercise control over the commercial use of their identities.
 2         102. Thomson Reuters' conduct also constitutes unfair business practices under the UCL
 3   because these practices offend established public policy and cause harm to the named plaintiffs
 4   and class members, which cannot be reasonably avoided, and that outweighs any benefit to
 5   consumers or competition. The conduct also is immoral, unetlucal, oppressive, unscrupulous,
 6 Iand substantially injurious to consumers.
 7         103. The named plaintiffs and class members have suffered economic injury as a result
 8   of Thomson Reuters' unlawful and unfair business practices.
 9         104. As a result of its unlawful and unfair business practices, Thomson Reuters has
10   reaped and continues to reap unfair and illegal profits at the expense of the plaintiffs and class
11   members. Thus, Thomson Reuters should be required to disgorge its illegal profits, and to pay
12   the plaintiffs and class members restitution in an amount according to proof at the time of trial.
13                                    THIRD CAUSE OF ACTION
14                                         Unjust Enrichment
15         105. Plaintiffs repeat and incorporate by reference each preceding paragraph as if fully
16 I stated herein.
17         106. Thomson Reuters has wrongfully and unlawfully sold the named plaultiffs' and the
18   class members' names, photographs, personal identifying information, and other personal data
19   without their consent for substantial profits.
20         107. The named plaintiffs' and the class members' personal information and data have
21   conferred an economic benefit on Thomson Reuters.
22         108. Thomson Reuters has been unjustly enriched at the expense of the named plaintiffs
23   and class members, and the company has unjustly retained the benefits of its unlawful and
24   wrongful conduct.
25         109.It would be inequitable and unjust for Thomson Reuters to be permitted to retain
26   any of the unlawful proceeds resulting from its unlawful and wrongful conduct.
27         110. The named plaintiffs and class members accordingly are entitled to equitable relief
28

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 1   including restitution and disgorgement of all revenues, earnings, and profits that Thomson
 2   Reuters obtained as a result of its unlawful and wrongful conduct.
 3                                    FOURTH CAUSE OF ACTION
 4           Unfair Competition Law, Cal. Bus. & Prof. § 17200, Public Injunctive Relief
 5          111. Plaintiffs reallege claims in tlie second cause of action for purposes of this action.
 6          112. California Business and Professions Code section 17200 et seq. ("UCL") prohibits
 7   "unlawful, unfair, or fraudulent business acts or practices."
 8         113. By selling Californians' personal information and data without consent, as
 9   described above, Thomson Reuters has engaged in unlawful and unfair acts and practices
10   prohibited by the UCL.
11         114. Thomson Reuters' conduct is unlawful under the UCL because it violates California
12   Civil Code section 3344(a) and California's common-law right of publicity.
13         115. Thomson Reuters' conduct also const-itutes unfair business practices under the UCL
14   because these practices offend established public policy and cause harm to the named plaintiffs
15   and class members, which cannot be reasonably avoided, and that outweighs any benefit to
16   consumers or competition. The conduct also is immoral, unethical, oppressive, unscrupulous,
17   and substantially injurious to consumers.
18         116. California's Urifair Competition Law allows anyone to bring an action for public
19   injunctive relief if they have "lost money or property as a result of the unfair competition." Cal.
20   Bus. & Prof. § 17204.
21         117. Plaintiffs Brooks and Shabazz both lost money as a result of Thomson Reuters'
22   unfair and unlawful practices in violation of the Unfair Competition Law. But for its violation
23   of law, Thomson Reuters would have either paid Brooks and Shabazz for consent to sell their
24   information or ceased the sale of their information.
25         118. Plaintiffs bring this fourth cause of action in a representative capacity, not on a class
26   basis, seeking public injunctive relief to enjoul Thomson Reuter's continued violation of
27   California's Unfair Competition Law.
28

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 1                                    PRAYER FOR RELIEF
2     For all of these reasons, the plaintiffs request that this Court:
 3     a. Certify this action as a class action for purposes of Claims One through Three;
4      b. Appoint plaintiffs Cat Brooks and Rasheed Shabazz as class representatives and
 5        appoint their attorneys as class counsel;
 6     c. Award compensatory damages, declaratory relief, and injunctive relief;
 7     d. Award restitution and disgorgement of the defendant's profits from its unlawful
 8        and unfair business practices and conduct;
 z     e. Issue an order for public injunctive relief under the UCL, enjoining Thomson
10        Reuters from selling class members' personal data without their consent, except for
11        legally permissible uses;
12     f. Award costs and reasonable attorneys' fees; and
13     g. Grant such further relief that the Court deems necessary and proper.
14                                      JURY DEMAND
15    119. Plaintiffs demand a trial by jury for all issues so triable under the law.
16
17
18
      DATED: December 3, 2020                    Respectfully submitted,
19
20
21                                               Eric H. Gibbs (State Bar No.178658)
                                                 Andre M. Mura (State Bar No. 298541)
22                                               Amanda M. Karl (State Bar No. 301088)
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               Superior Court of California, County of Alameda
         Alternative Dispute Resolution (ADR) Information Packet

The person who files a civil lawsuit (plaintiff) must include the ADR Information Packet
with the complaint when serving the defendant. Cross complainants must serve the ADR
Information Packet on any new parties named to the action.

    The Court strongly encourages the parties to use some form of ADR before proceeding to
    trial. You may choose ADR by:
         •     Indicating your preference on Case Management Form CM-110;
         •     Filing the Stipulation to ADR and Delay Initial Case Management Conference for
               90 Days (a local form included with the information packet); or
         •     Agree to ADR at your Initial Case Management Conference.

    QUESTIONS? Call (510) 891-6055. Elnail adrprogI•amgalalneda.courts.ca.gov
    Or visit the court's website at http://www.alameda.courts.ca.gov/adr

                              What Are The Advantages Of Using ADR?
•    Faster —Litigation can take years to complete but ADR usually takes weeks or months.
•    Clzeaper — Parties can save on attorneys' fees and litigation costs.
•    More control and flexibility — Parties choose the ADR process appropriate for their case.
•    Cooperative mzd less stressful — In mediation, pai-ties cooperate to find a mutually
     agreeable I•esolution.
•    Preserve Relationships — A mediator can help you effectively communicate your
     interests and point of view to the other side. This is an impoi-tant benefit when you want
     to presel•ve a relationship.

                              What Is The Disadvantage Of Using ADR?
•    You may go to court m:yway — If you cannot resolve your dispute using ADR, you may
     still have to spend time and money resolving your lawsuit through the courts.

                                 What ADR Options Are Available?
•    Mediatiou — A neutral person (mediator) helps the parties communicate, clarify facts,
     identify legal issues, explore settlement options, and agree on a solution that is acceptable
     to all sides.

     o       Court Mediation Program: Mediatol•s do not charge.fees for the fiI•st two liours of
             mediation. If parties need more time, they must pay the mediator's regular fees.

ADRInfo Sheet.Rev. 12/15/10                                                              Page 1 of2
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          Some mediators ask for a deposit before mediation starts which is subject to a refund
          for unused time.

     o    Private Mediation: This is mediation where the parties pay the mediator's regular
          fees and may choose a mediator outside the court's panel.

    Arbitration — A neutral person (arbitrator) hears arguments and evidence from each side
    and then decides the outcome of the dispute. Arbitration is less fonnal than a trial and the
    rules of evidence are often relaxed. Arbitration is effective when the parties want
    someone other than themselves to decide the outcome.

     o    Judicial Arbitration Program (non-binding): The judge can refer a case or the
          parties can agree to use judicial arbiti•ation. The parties select an arbitrator froln a list
          provided by the court. If the parties cannot agree on an arbitrator, one will be
          assigned by the court. There is no fee for the arbitrator. The arbitrator must send the
          decision (award of the arbitrator) to the court. The parties have the right to reject the
          award and proceed to trial.

     o    Private Arbitration (binding and non-binding) occurs when pai-ties involved in a
          dispute either agree or are contractually obligated. This option takes place outside of
          the coui-ts and is normally binding meaning the arbitrator's decision is final.

                         Mediation Service Programs In Alameda County
Low cost mediation services are available through non-profit community organizations.
Trained volunteer mediators provide these services. Contact the following organizations for
more information:


SEEDS Community ltesolution Center
1968 San Pablo Avenue, Berkeley, CA 94702-1612
Telephone: (510) 548-2377       Website: www.seedscrc.org
Their mission is to provide inediation, facilitation, training and education programs in our
diverse communities — Services that Encourage Effective Dialogue and Solution-making.


Center for Community Dispute Settlement
291 McLeod Street, Livermore, CA 94550
Teleplione: (925) 373-1035    Website: www.trivalleymediation.com
CCDS provides services in the Tri-Valley area for all of Alameda County.


For Victin?/Offender Restorative Justice Services
Catholic Charities of the East Bay: Oakland
433 Jefferson Street, Oakland, CA 94607
Telephone: (510) 768-3100        Website: www.cceb.org
Mediation sessions   involve the youth, victim, and family members work toward a mutually
agreeable restitution agreement.




ADR Info Sheet.Rev. 12/15/10                                                                  Page 2 of2
                   Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 33 of 44


                                                                                                                                  ALA ADR-001
                               ATTORNEY (Name. State Bar                                                                    USE ONLY




                    TELEPHONE NO.:                                 FAX N0. (Optional):
          E-MAIL ADDRESS (Opt/onal):
             ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, ALAMEDA COUNTY
                  STREET ADDRESS:
                 MAILING ADDRESS:
                 CITY AND ZIP CODE:
                      BRANCH NAME

PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT


STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)
AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS


              INSTRUCTIONS: AII applicable boxes must be checked, and the specified information must be provided.

     This stipulation is effective when:
     •     AII parties have signed and filed this stipulation with the Case Management Conference Statement at least 15 days before the
           initial case management conference.
     •     A copy of this stipulation has been received by the ADR Program Administrator, 1225 Fallon Street, Oakland, CA 94612.

1. Date complaint filed:                                             . An Initial Case Management Conference is scheduled for:

     Date:                                                 Time:                                     Department:

2.   Counsel and all parties certify they have met and conferred and have selected the following ADR process (check one):

     ❑     Court mediation                   ❑ Judicial arbitration
     ❑     Private mediation                 ❑ Private arbitration


3.   AII parties agree to complete ADR within 90 days and certify that:
     a.    No party to the case has requested a complex civil litigation determination hearing;
     b.    AII parties have been served and intend to submit to the jurisdiction of the court;
     c.    AII parties have agreed to a specific plan for sufficient discovery to make the ADR process meaningful;
     d.    Copies of this stipulation and self-addressed stamped envelopes are provided for returning endorsed filed stamped copies to
           counsel and all parties;
     e.    Case management statements are submitted with this stipulation;
     f.    AII parties will attend ADR conferences; and,
     g.    The court will not allow more than 90 days to complete ADR.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:

                                                                           001.
                 (TYPE OR PRINT NAME)                                                (SIGNATURE OF PLAINTIFF)



Date:



                                                                          10.
                 (TYPE OR PRINT NAME)                                               (SIGNATURE OF ATTORNEY FOR PLAINTIFF)
                                                                                                                                             Pa4e 1 of 2
 Form Approved for Mandatory Use
    Superior Court of Califarnia,      STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                                Cal. Rules of Court,
       countyotAlameda                                                                                                           rule 3.227 a
ALA ADR-001 [New January 1, 2010]      AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS                                           ()(4)
                   Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 34 of 44


                                                                                                               ALA ADR-001
                                                                                               CASE NUMBER.:
PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:



Date:


                                                        \
                                                        I
                 (TYPE OR PRINT NAME)                            (SIGNATURE OF DEFENDANT)



Date:



                                                        00.
                 (TYPE OR PRINT NAME)                            (SIGNATURE OF ATTORNEY FOR DEFENDANT)




                                                                                                                     Page 2 of 2
 Form Approved for Mandatory Use
    Superior Court of Califomia,    STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)             Cal.RulesofCourt,
                                                                                                           rule 3.221(a)(4)
       County of Alameda
ALA ADR-001 [New January 1, 2010]   AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
                   Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 35 of 44


                                                                                                                                                   PlA_.1 A,f
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Narm, State ear number, and addressr                                              FOR COURT USE ONLY
                                                                                                         I




                 TELEPHONE NO.:                               FAX NO. (OpBonal):
      E-MAIL ADDRESS (Optionaf):
          ATTORNEY FOR (Nama):

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF
         STREET ADDRESS:
       MAILING ADDRESS:
      CITY AND ZJP CODE:
           BRANCH NAME:

          PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:

                                   CASE MANAGEMENT STATEMENT                                                 CASE NUMBER:

  (Check one):             =       UNLIMITED CASE                C]       LIMITED CASE
                                   (Amount demanded                       (Amount demanded is $25,000
                                   exceeds $25,000)                       orless)

  A CASE MANAGEMENT CONFERENCE is scheduled as follows:
  Date:                                            Time:                           Dept.:               Div.:                       Room:
  Address of court ('rf different from the address above):

     0       Notice of Intent to Appear by Telephone, by (name):

                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
 1.      Party or parties (answer one):
         a.0          This statement is submitted by party (name):
         b.0          This statement is submitted jointiy by parties (names):


 2.      Complaint and cross-complaint (to be answered by plafntiffs and cross-complainants only)
         a. The complaint was filed on (date):
         b. =     The cross-compiaint, if any, was filed on (date):

 3.      Service (to be answered by plaintiffs and cross-complainants only)
         a.  0      AII parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
         b.  0      The fotlowing parties named in the complaint or cross-complaint
                      (1)0           have not been served (specify names and explain why not):

                     (2)0            have been served but have not appeared and have not been dismissed (specify names):

                     (3)0            have had a default entered against them (specify names):

         c. 0        The following additional parties may be added (specify names, nature of involvement in case, and date by which
                     they may be served):


4.     Description of case
       a. Type of case in 0oomplaint                         0         cross-complaint      (Describe, including causes of action):



                                                                                                                                                   Pa e1of5
FormAdoptedforMandatoryUse
  Judidal Council of CalNumia                           CASE MANAGEMENT STATEMIENT                                                          cal.Rulesotcourt,
  CM-110 [Rev. July 1, 20111                                                                                                                 rules 3.720-3.730
                                                                                                                                            www.courts.ra.gov
                      Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 36 of 44


                                                                                                                                                  CM-110
             PLAINTIFF/PETITIONER:                                                                              cnsE NUM6ER:

     DEFENDANT/RESPONDENT:

   4. b. Provide a brief statement of the case, including any damages. (tf personal injury damages are sought, specify the injury and
                  damages claimed, including medical expenses to date [ndicate source and amount], estimated future medfcal expenses,
                                                                                                                                          lost
                  earnings to date, and estimated future lost eamings. !f equftable relief is sought, describe the nature of the relief.)




         0(!f          more space is needed, check this box and a(tach a page designated as Attachment 4b.)
   5.    Jury or nonjury trial
         The party or parties request            =     a jury trial   =    a nonjury trial.      (lfmore than one party, provide the name of each party
         requesting a jury trial):.

   6.    Triai date
        a.0            The trial has been set for (date):
         b.            No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the
                                                                                                                                       complaint (if
                       not, explain):

        c. Dates on which parties or attomeys will not be available for trial (specify dates and explain reasons for unavailability):


  7. Estimated length of trial
        The party or parties estimate that the trial will take (check one):
        a.             days (specffy number):
        b.             hours (short causes) (specify):


  8. Trial representation (to be answered for each parfy)
        The party or parties will be represented at trial             Q   by the attomey or party listed in the caption    =     by the following:
        a.     Attomey:
        b.     Firm:
        c.     Address:
        d.     Telephone number:                                                               f. Fax number:
        e.     E-mail address:                                                                 g. Party represented:
        0          Additional representation is described in Attachment 8.
 9. Preference
        0          This case is entitled to preference (specify code section):
 10. Altemative dispute resolution (ADR)
        a.     ADR Information package. Please note that different ADR processes are available in different courts and communities; read
               the ADR information package provided by the court under ruie 3.221 for information about the processes available through the
               court and community programs in this case.
             (1) For parties represented by counsel: Counsel          0       has   0         has not   provided the ADR information package identified
                  in ruie 3.221 to the client and reviewed ADR options with the client.

            (2) For seif-represented parties: Party =    has =        has not reviewed the ADR information package identified in rule 3.221.
        b. Refen*al to judicial arbitration or civil action mediation (if available).
          (1)        This matter is sub1'ect to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                     mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                     statutory limit.
            (2)              Plaintrff elects to refer this case to judicial arbitration and agrees to limit reoovery to the amount specified in Code of
                             Civil Procedure section 1141.11.
            (3)          This case is exempt from judicial arbitration under rule 3.811 of the Califomia Rules of Courtor from civil action
                         mediation under Code of Civil Procedure section 1775 et seq. (specify exempffon):


CM-110 [Rev. July 1, 2011]
                                                        CASE MANAGEMENT STATEMENT                                                                Page 2 or5
                  Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 37 of 44


                                                                                                                                     cM-11 n
        PLAINTIFF/PETITIONER:                                                                      cnse NuMaER

    EFENDANT/RESPONDENT:

  10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
            have already participated in (check all that apply and provide the specihed information):


                                The party or parties completing    If the party or parties completing this form in the case have agreed to
                                this form are willing to           participate in or have already completed an ADR process or processes,
                                participate in the following ADR indicate the status of the processes (attach a copy of the parties'ADR
                                processes (check alt that appty): stipulation):


                                                                    Q      Mediation session not yet scheduled

                                             Q                      0      Mediation session scheduled for (date):
     (1) Mediation
                                                                    Q      Agreed to compiete mediation by (date):

                                                                    Q      Mediation completed on (date):


                                                                    Q      Settlement conference not yet scheduled

   (2) Settlement                                                          Settlement conference scheduled for (date):
        conference
                                                                    Q      Agreed to complete settlement conference by (date):

                                                                    0      Settlement conference completed on (date):


                                                                    Q      Neutral evaluation not yet scheduled

                                                                    ~      Neutral evaluation scheduled for (date):
    (3) Neutral evaluation                  ~
                                                                    [~     Agreed to complete neutral evaluation by (date):

                                                                    Q      Neutral evaluation completed on (date):


                                                                    Q      Judicial arbitration not yet scheduled

   (4) Nonbinding judicial                  Q                       Q      Judicial arbitration scheduled for (date):
       arbitration
                                                                   Q       Agreed to complete judicial arbitration by (date):

                                                                   Q       Judicial arbitration completed on (date):


                                                                   Q       Private arbitration not yet scheduled

  (5) Binding private                       Q                      ~       Private arbitration scheduled for (date):
      arbitration
                                                                   Q       Agreed to complete private arbitration by (date):

                                                                   Q       Private arbitration cwmpieted on (date):


                                                                   Q       ADR session not yet scheduled

                                                                   ~      ADR session scheduled for (date):
   (6) Other (specify):                    Q
                                                                   Q      Agreed to complete ADR session by (date):

                                                                   Q      ADR completed on (date):


CM-110 [Rev. Juy 1, 2011]                                                                                                          Pago 3 of 5
                                                Q;ASE MANAGENlENT STATEMENT
                Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 38 of 44



         PLAINTIFF/PETITIONER:                                                                       casE NUMBER:

    DEFENDANTIRESPONDENT:

  11.insuranee
     a. C] Insurance carrier, if any, for party filing this statement (name):
     b. Reservation of rights: =       Yes 0          No
     c. 0     Coverage issues will significantiy affect resolution of this case (explain):



  12. Jurisdiction
      Indicate any mafters that may affect the courPs jurisdiction or processing of this case and describe the status.
        0     Bankruptcy =       Other (specify):
     Status:

 13. Related cases, consoiidation, and coordination
     a, =     There are oompanion, underlying, or reiated cases.
              (1) Name of case:
              (2) Name of court:
                  (3) Case number:
                 (4)
                   Status:
           0      Additional cases are described in Aftachment 13a.
      b. 0       A motion to      0      consoiidate     =      coordinate       will be filed by (name party):

 14. Bifurcation
    ~     The parry or parties intend to file a motion for an order bifurcating, severing, or coordinating the foiiowing issues or causes of
          action (specify moving party, type of motion, and reasons):



 15. Other motions
     =       The party or parties expect to file the following motions before trial (specify moving party, fype of motion, and issues):



 16. Discovery
     a. 0    The party or parties have oompleted all discovery.
     b.     The following discovery will be eompieted by the date specified (describe all anticipated discovery):
            Party                                     Descrintion                                                 Date




      c_ 0      The following discovery issues, including issues regarding the discovery of eiectronically stored information, are
                anticipated (specify):




cM-iio[Rev.Jdyi.zoiii                                                                                                                 rega4ofs
                                               CASE IWAPEAGENIENT STATEANENT
                     Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 39 of 44


                                                                                                                                      CM-110
           PLAINTIFF/PETITIONER:                                                                    cASE NUMeER:


     DEFENDANT/RESPONDENT:


   17. Economic litigation
       a.    This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures
                                                                                                                                     in Code
             of Civil Procedure sections 90-98 will apply to this case.
       b.    This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for
                                                                                                                              additional
             discovery will be filed ('rf checked, explain specifically why economic titigation procedures relating to
                                                                                                                       discovery or trial
             shoutd not apply to this case):




   18. Otherissues
         0       The party or parties request that the following additional mafters be considered or determined at the case
                                                                                                                            management
                 conference (specify):




  19. Meet and confer
         a.0 The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the
                                                                                                                        Califomia Rules
             of Court (if not, explain):



         b. After meeting and conferring as required by rule 3.724 of the Califomia Rules of Court, the parties agree on
                                                                                                                         the following
            (specffy):




  20. Total number of pages attached (if any):

  I am completely familiar with this case and will be fully prepared to discuss the status of discovery and
                                                                                                             altemative dispute resolution,
  as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these
                                                                                                                       issues at the time of
  the case management conference, including the written authority of the party where required.

  Date:




                              (TYPE OR PRIM7 NAME)
                                                                             I
                                                                                               (SIGNATURE OF PARTY OR ATTORNEY)




                              (TYPE OR PRINT NAME)
                                                                              0
                                                                                               (SIGNATURE OF PARTY OR A7TORNEI)

                                                                              0    Additional signatures are attached.




GM-l7u [KBV. JUIY 9, zui 1]
                                                     CASE MANAGEMENT STATEMENT                                                       Page 5 of 5
                 Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 40 of 44
1/27/2021                                                        Case Details - DomainWeb




     THE SUPERIOR COURT OF CALIFORNIA

        COUNTY OF ALAMEDA

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                                                                    DomainWeb                How This Site Works             FAQ

      - Case Details

      Case Number: RG20082878                           Title: Brooks VS Thomson Reuters Corporation


            Case Summary                Register of Action            Participants              Tentative Rulings

            Future Hearings             Minutes
                                   11


            Date                Action




https://publicrecords.alameda.courts.ca.gov/PRS/Case/CaseDetails/UkcyMDA4Mjg30A%3d%3d                                                 1/3
                 Case 3:21-cv-01418-EMC Document 1-1 Filed 02/26/21 Page 41 of 44
1/27/2021                                                         Case Details - DomainWeb


            Date                Action

                                This Tentative Ruling is made by Judge Winifred Y. Smith
                                COMPLEX DETERMINATION


                                The Court designates this case as complex pursuant to Rule
                                3.400 et seq. of the California Rules of Court. Counsel are
                                advised to be familiar with the Alameda County Local Rules
                                concerning complex litigation, including Rule 3.250 et seq. An
                                order assigning the case to one of the three complex judges
                                and an initial case management order will be issued.

                                COMPLEX CASE FEES

                                Pursuant to Government Code section 70616, any non-exempt
                                party who has appeared in the action but has not paid the
                                complex case fee is required to pay the fee within ten days of
                                the filing of this order. The complex case fee is $1,000 for each
                                plaintifP or group of plaintiffs appearing together and $1,000
                                PER PARTY for each defendant, intervenor, respondent or other
                                adverse party, whether filing separately or jointly, up to a
                                maximum of $18,000 for all adverse parties. AII payments
                                must identify on whose behalf the fee is submitted. Please
                                submit payment to the attention of the Complex Litigation
                                Clerk located in the Civil Division at the Rene C. Davidson
                                Courthouse, 1225 Fallon Street, Oakland, CA 94612. Please
            1/27/2021
                                make check(s) payable to the Clerk of the Superior Court.
                                Documents may continue to be filed as allowed under Local
                                Rule 1.9. Note that for those admitted pro hac vice, there is
                                also an annual fee. (Gov't Code section 70617.)

                                PROCEDURES

                                Calendar information, filings, and tentative rulings are available
                                to the public at
                                http://www.alameda.courts.ca.gov/domainweb/. AII counsel
                                are expected to be familiar and to comply with pertinent
                                provisions of the Code of Civil Procedure, the California Rules of
                                Court, the Alameda County Superior Court Local Rules and the
                                procedures outlined on the domain web page of the assigned
                                department.

                                SERVICE OF THIS ORDER

                                Counsel for plaintiff(s) shall have a continuing obligation to
                                serve a copy of this order on newly joined parties defendant
                                not listed on the proof of service of this order and file proof of
                                service. Each party defendant joining any third party cross-
                                defendant shall have a continuing duty to serve a copy of this
                                order on newly joined cross-defendants and to file proof of
                                service.


https://publicrecords.alameda.courts.ca.gov/PRS/Case/CaseDetails/UkcyMDA4Mjg30A%3d%3d                2/3
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                                                                                                                                                 POS-010
ATrORNEY OR PARTY NATHOUT ATTORNEY (Name, State Barnumber, and address):
                                                                                                                         FOR COUR7 USE ONLY
Eric H. Gibbs (SBN 178658)
Gibbs Law Group LLP
505 14th Street, Suite 1110, Oakland, California 94612


          TELEPHONE NO.: (51O) 350-9700                     FAx NO. (optuonal): (510) 350-9701
E-MAILADDRESS(optional): ehg@claSSlawgroup.com
   ATTORNEY FOR (Name): Cat BroOks and Rasheed ShabazZ
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
 STREET ADDRESS: 1225 Fallon .Street
 MAILING ADDRESS:
CITY AND ZIP CODE: Oakland, California 94612
    BRANCH NAME: Renfs C. Davidson Courthouse                                 j

    PLAINTIFF/PETITIONER: Cat Brooks and Rasheed Shabazz                                             CASE NUMBER:

DEFENDANT/RESPONDENT: Thomson Reuters Corporation
                                                                                                     Ref. No. or File No.:
                           PROOF OF SERVICE OF SUMMONS

                                       (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. 1 served copies of:
    a. 0         summons
    b. F—
        x-1 complaint
    c. 0         Alternative Dispute Resolution (ADR) package
    d. ®         Civil Case Cover Sheet (served in complex cases only)
    e. C]         cross-complaint
    f. FT~ other (specify documents): Notice of hearing; tentative ruling on complex case designation
3. a. Party served (specify name of party as shown on documents served):

    b• =          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                  under item 5b on whom substituted service was made) (specify name and relationship to the party named fn item 3a):

4. Address where the party was served:

5. 1 served the party (check proper box)
    a. 0          by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date):                                     (2) at (time):

    b. 0          by substituted service. on (date):                          at (time):            I left the documents listed in item 2 with or
                  in the presence of (name and title orrelationship to person indicated in item 3):

                  (1)     (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                          of the person to be served. I informed him or her of the general nature of the papers.
                  (2) 0(home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                          place of abode of the party. I informed him or her of the general nature of the papers.
                  (3)0(physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other than a United States Postal Service post office box. I informed
                              him or her of the general nature of the papers.
                  (4)         1 thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be serlied
                              at the place where the copies were left (Code Civ. Proc., § 415.20). 1 mailed the documents on
                              (date):                        from (city):                            or0     a declaration of mailing is attached.
                  (5) 0       I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                    Page 1 of 2
FonnAdoptedforMandaloryUse                                                                                                        CodeofCivilProcedure,§417.10
  Judicial Council of Califomia                        PROOF OF SERVICE OF SUMMONS
POS-010 (Rev. January 1, 2007)
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                                                                                                                                     POS-010
    PLAINTIFFlPETITIONER: Cat Brooks and Rasheed Shabazz                                               CASE NUMBER:

 DEFENDANT/RESPONDENT: Thomson Reuters Corporation

5. c. =            by mail and acknowwiedgment of receipt of service. I maiied the documents listed in item 2 to the party, to the
                   address shown in item 4, by first-class mail, postage prepaid,
                   (1) on (date):                                              -(2) from (city):
                   (3) 0         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envefope addressed
                                 to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                   (4) 0         to an address outside California with retum receipt requested. (Code Civ. Proc., § 415.40.)

     d. =          by other means (specify means of service and authorizing code section):




          =        Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
     a.            as an individual defendant.
     b.            as the person sued under the fictitious name of (specify):
     c. 0          as occupant,
     d.            On behalf of (specffy):
                   under the following Code of Civil Procedure section:
                           ~       416.10 (corporation)                    0         415.95 (business organization, form unknown)
                           0       416.20 (defunct corporation)            0         416.60 (minor)
                           0       416.30 Qoint stock company/association) 0         416.70 (ward or conservatee)
                           ~       416.40 (association or partnership)        0      416.90 (authorized person)
                           ~       416.50 (pubiic entity)                     0      415.46 (occupant)
                                                                              []     other:
7. Person who served papers
     a. Name:
     b. Address:
     c. Telephone number:
     d. The fee for service was: $
     e. I am:
          (1)          not a registered California process server.
          (2)          exempt from registration under Business and Professions Code section 22350(b).
          (3)          a registered California process server:
                            0    owner      0         empioyee            independent contractor.
                       (ii) Registration No.:
                       (iii) County:

8.            1 deciare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
              or
9.            1 am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date:

                                                                                                   /
        (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                         (SIGNATURE)




POS-010 [Rev. January 1. 20071                          PROOF OF SERVICE OF SUMMONS                                                   Paae2ofz
